     Case 2:23-cr-00056-JNP Document 1 Filed 02/01/23 PageID.1 Page 1 of 5




TRINA A. HIGGINS, United States Attorney (#7349)
CARLOS A. ESQUEDA, Assistant United States Attorney (#5386)
Attorneys for the United States of America
111 South Main Street, Ste. 1800 • Salt Lake City, Utah 84111
Telephone: (801) 524-5682 • Facsimile: (801) 325-3387


                    IN THE UNITED STATES DISTRICT COURT

                                  DISTRICT OF UTAH



UNITED STATES OF AMERICA,                        FELONY COMPLAINT

                    Plaintiff,                   MAGIS NO. 2:23mj90 CMR

       vs.                                       VIOS. COUNT 1, 18 U.S.C. § 2119,
                                                 CARJACKING.
ELVIS TAHIROVIC,
BRITTANY ANN PETERS,

                    Defendants.




                                       COUNT 1
                                 (18 U.S.C. § 2119)
                                      Caijacking
      On or about January 30, 2023, in the District of Utah,

                 ELVIS TAHIROVIC and BRITTANY ANN PETERS,

the defendants herein, knowingly and with intent to cause death and serious bodily harm,

did take and attempted to take a motor vehicle that has been transported, shipped and



                                            1
Case 2:23-cr-00056-JNP Document 1 Filed 02/01/23 PageID.2 Page 2 of 5
Case 2:23-cr-00056-JNP Document 1 Filed 02/01/23 PageID.3 Page 3 of 5
Case 2:23-cr-00056-JNP Document 1 Filed 02/01/23 PageID.4 Page 4 of 5
Case 2:23-cr-00056-JNP Document 1 Filed 02/01/23 PageID.5 Page 5 of 5




                                          1st




             Digitally signed by CARLOS
CARLOS       ESQUEDA
             Date: 2023.02.01 10:11:13
ESQUEDA      -07'00'
